Case 5:16-cv-10444-JEL-EAS ECF No. 2129, PageID.72398 Filed 03/07/22 Page 1 of 2




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


     In re Flint Water Cases.                Judith E. Levy
                                             United States District Judge
     ________________________________/

     This Order Relates To:

     ALL CASES

     ________________________________/

 ORDER AUTHORIZING DISTRIBUTION OF FUNDS FROM THE
      QUALIFIED SETTLEMENT FUND FOR PAYMENT OF
 MASTER GUARDIAN AD LITEM FEES FOR OCTOBER 19, 2021
                TO FEBRUARY 20, 2022

      Having now considered the Notice Of The Master Guardian Ad Litem

 Regarding Request For Payment Of Fees For October 19, 2021 to

 February 20, 2022 (ECF No. 2127) (“Notice”) and the request to authorize

 the distribution of funds from the Qualified Settlement Fund1 under

 Article XI of the Amended Settlement Agreement pursuant to Exhibit A

 of the Notice:

      IT IS HEREBY ORDERED THAT:




 1     All capitalized terms herein have the same meaning set forth in the Amended
 Settlement Agreement that the Court has preliminarily approved.
                                         1
Case 5:16-cv-10444-JEL-EAS ECF No. 2129, PageID.72399 Filed 03/07/22 Page 2 of 2




    1. A distribution of funds in the amount of $30,940.20 from the

       Qualified Settlement Fund for the purpose of paying Master GAL

       Miriam Z. Wolock for October 19, 2021 to February 20, 2022 is

       approved.

 IT IS SO ORDERED.

 Dated: March 7, 2022                      s/Judith E. Levy
 Ann Arbor, Michigan                       JUDITH E. LEVY
                                           United States District Judge

                      CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or first-class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on March 7, 2022.

                                           s/William Barkholz
                                           WILLIAM BARKHOLZ
                                           Case Manager




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